            Case 1:19-cr-00082-TLN-BAM Document 44 Filed 06/11/19 Page 1 of 2


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 5

 6                                UNITED STATES DISTRICT COURT
 7                                EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                     )     Case No. 1:19 CR 00082 DAD-BAM
                                                   )
10                                 Plaintiff,      )     STIPULATION AND ORDER TO MODIFY
                                                   )     TERMS OF RELEASE
11                          vs.                    )
                                                   )
12   IFEANYI VINCENT NTUKOGU                       )
                                                   )
13                           Defendant.            )
     ________________________________              )
14

15          IT IS HEREBY STIPULATED by and between the parties hereto through their attorneys

16   of record, namely McGregor Scott, United States Attorney, by Melanie L. Alsworth, Assistant

17   United States Attorney, for the plaintiff, and Daniel A. Bacon, Attorney at Law, for defendant

18   Ifeanyi Vincent Ntukogu, that the conditions of release ordered by the court in this matter on

19   April 17, 2019, shall be amended to delete the condition in paragraph 7 (l), which required location

20   monitoring, home detention and a curfew.

21          This modification has been approved by Pretrial Services Officer Renee Basurto.

22          Executed this 10th day of June, 2019, at Fresno, California.

23                                                 /s/ Daniel A. Bacon
                                                   DANIEL A. BACON, Attorney for
24                                                 IFEANYI VINCENT NTUKOGU
25          Executed this 10th day of June, 2019, at Fresno, California.
26                                                 McGREGOR SCOTT, United States Attorney

27                                                 By: /s/ Melanie L. Alsworth
                                                   MELANIE L. ALSWORTH
28                                                 Assistant U.S. Attorney, Attorney for Plaintiff
           Case 1:19-cr-00082-TLN-BAM Document 44 Filed 06/11/19 Page 2 of 2


                                                 ORDER
 1
            Based upon the stipulation of the parties, and good cause appearing therefor,
 2
            IT IS ORDERED that the conditions of release filed with the court in this matter on
 3
     April 17, 2019, shall be amended to delete the condition in paragraph 7 (l), which required
 4
     location monitoring, home detention and a curfew.
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 6          IT IS SO ORDERED.
 7
     Dated: June 11, 2019                                         /s/ Barbara A. McAuliffe
 8                                                        UNITED STATES MAGISTRATE JUDGE
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